THE COURT.
The defendant and appellant was convicted in the Superior Court in the City and County of San Francisco of a felony, to wit, robbery, and the jury fixed the crime as of the first degree.
[1] Judgment on the verdict was entered January 4, 1933, and the transcript on appeal was filed in this court on January 13, 1933. The cause was regularly placed on the calendar for oral argument on June 12, 1933. No appearance was made for appellant at the time the cause was called for hearing other than a request for additional time to file a brief. No brief has been filed in his behalf and the time granted for that purpose has long since expired.
Pursuant to the provisions of section 1253 of the Penal Code the judgment and the order denying a new trial are affirmed. *Page 755 